Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 1 of 47            FILED
                                                                      2016 Sep-08 AM 10:44
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 2 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 3 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 4 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 5 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 6 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 7 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 8 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 9 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 10 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 11 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 12 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 13 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 14 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 15 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 16 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 17 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 18 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 19 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 20 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 21 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 22 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 23 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 24 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 25 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 26 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 27 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 28 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 29 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 30 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 31 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 32 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 33 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 34 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 35 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 36 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 37 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 38 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 39 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 40 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 41 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 42 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 43 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 44 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 45 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 46 of 47
Case 1:16-cv-01476-CLM   Document 1   Filed 09/08/16   Page 47 of 47
